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                Exhibit 1
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Eastern District
                                                       __________ Districtofof
                                                                             Oklahoma
                                                                               __________
             THE CHEROKEE NATION
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
                                                                               )
      MCKESSON CORPORATION, ET AL
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place:                                                                                 Date and Time:



        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                    EXHIBIT 1
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          SCHEDULE A

        Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Defendant Walgreen Co.

hereby serves the following Requests for Production of Documents on the Oklahoma Bureau of

Narcotics and Dangerous Drugs Control.

                                         DEFINITIONS

               A. “ARCOS” means the Automation of Reports and Consolidated Orders System
containing data reported by DEA Registrants pursuant to 21 U.S.C. § 827.

               B. “Communications” means Documents transmitted between or among persons
or entities.

               C. “Complaint” means the Complaint filed in this action, or any superseding
version of the Complaint.

               D. “Documents” is defined to be synonymous in meaning and equal in scope to
the meaning of this term in Fed. R. Civ. P. 34. A draft or non-identical copy is a separate Document
within the meaning of this term. In all events, the definition of “Document” shall include
“Communication,” as defined above.

                E. “Defendants” means the defendants in The Cherokee Nation v. McKesson
Corp., et al., Case No. CIV-18-56-RAW-SPS (E.D. Ok.), which includes: McKesson Corporation,
Cardinal Health, Inc., Cardinal Health 110, LLC, Amerisourcebergen Drug Corporation, CVS
Health Corporation, CVS Pharmacy, Inc., Oklahoma CVS Pharmacy, LLC, Walgreens Boots
Alliance, Inc., Walgreen Co., and Walmart Inc. (formerly known as Wal-Mart Stores, Inc).

               F. “Healthcare Provider” refers to any physician, surgeon, nurse practitioner,
physician assistant, physiatrist, psychiatrist, dentist, podiatrist, nurse, or other person or entity
engaged in the business or administration of providing health care services and/or prescribing a
Prescription Opioid and any medical facility, practice, hospital, or clinic.

               G. “Prescription Opioids” means FDA-approved pain-reducing medications that
consist of natural, synthetic, or semisynthetic chemicals that bind to opioid receptors in the brain
or body to produce an analgesic effect, specifically medications containing hydrocodone,
oxycodone, fentanyl, hydromorphone, oxymorphone, morphine, methadone, or tapentadol that
may be obtained by patients only through prescriptions written by prescribers duly licensed and
regulated by the Drug Enforcement Agency (“DEA”).

               H. “Illicit Opioids” means Prescription Opioids and heroin, illegally-manufactured
fentanyl, carfentanil, other fentanyl-type analogs, and counterfeit opioid medications that are not
obtained and used lawfully pursuant to a legitimate prescription from a duly licensed and DEA-
registered prescriber.




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              I. “Manufacturer Lawsuit” means State of Oklahoma, ex rel., Mike Hunter,
Attorney General of Oklahoma v. Purdue Pharma L.P., et al., No. CJ-2017-816 in the District
Court of Cleveland County, Oklahoma.

                J. “Plaintiff” means the Cherokee Nation including without limitation its
territories, agencies, offices, departments, divisions, commissions, agents, employees, boards,
instrumentalities, vendors, administrators, executive and legislative branches, and any other person
or entity acting on its behalf or controlled by it. Plaintiff further includes without limitation any
health care systems or facilities owned, affiliated, operated or supported by or with Plaintiff.

                K. “Referring or relating to” means relevant in any way to the subject matter
specified, including, but not limited to, constituting, recording, reflecting, discussing, analyzing,
evidencing, mentioning, concerning, evaluating, or commenting upon the subject matter.

              L. “Relevant Geographic Area” means the geographic area that is relevant to the
claims and defenses in The Cherokee Nation v. McKesson Corp., et al., Case No. CIV-18-56-
RAW-SPS (E.D. Ok.), , specifically those portions of Adair, Cherokee, Craig, Delaware, Mayes,
McIntosh, Muskogee, Nowata, Ottawa, Rogers, Sequoyah, Tulsa, Wagoner, and Washington
Counties claimed by the Cherokee Nation as its jurisdictional area. For illustration purposes only,
see also the map available at https://www.okhouse.gov/Documents/Districts/14-
1101%20OK%20House%20and%20Tribal.pdf.1

               M. “Suspicious Order(s)” means any order of Prescription Opioids referred to in a
Document or Communication as “suspicious” within the meaning of 21 C.F.R. § 1301.74(b) or
that You contend should have been reported to the DEA or state authorities, including the Board
of Pharmacy or equivalent. Suspicious Orders are not limited to those placed with Defendants but
include those placed with any entity that You assert had a regulatory reporting obligation under 21
C.F.R. § 1301.74(b).

                  N. “You” and “your” means the Oklahoma Bureau of Narcotics and Dangerous
Drugs Control.

                                               INSTRUCTIONS

                A. Unless otherwise indicated, the relevant time period applicable to these requests
is 2006 to the present.2

               B. These instructions and definitions should be construed to require responses
based upon the documents available to the responding party as well as his agents, representatives,
and, unless privileged, attorneys.




1
  Should the Court issue a ruling establishing that the relevant geographic scope of discovery extends beyond the
Cherokee Nation claimed jurisdictional area, Defendants will revise this definition accordingly.
2
  Should the Court issue a ruling establishing a different time period for discovery, Defendants will revise the
relevant time period accordingly.

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                C. Where a claim of privilege is asserted in objecting to any Request or part
thereof, and a document is not provided on the basis of such assertion:

                    i. In asserting the privilege, the responding party shall, in the objection to the
                       Request, or part thereof, identify with specificity the nature of the privilege
                       (including work product) that is being claimed;

                    ii. The following information should be provided in the objection, if known or
                        reasonably available, unless divulging such information would cause
                        disclosure of the allegedly privileged information,

                           1. the type of document,

                           2. the general subject matter of the document,

                           3. the date of the document, and

                           4. such other information as is sufficient to identify the document,
                              including, where appropriate, the author, addressee, custodian, and
                              any other recipient of the document, and where not apparent, the
                              relationship of the author, addressee, custodian, and any other
                              recipient to each other.

              D. If, in answering these requests, the responding party encounters any ambiguities
when construing a question, instruction, or definition, the responding party's answer shall set forth
the matter deemed ambiguous and the construction used in answering.

               E. As to any Request for which documents exist, please indicate the specific
paragraph of this Request to which the documents are responsive. As to any Request for which
no documents exist, please so state by referring to the specific paragraph of the Request and state
whether any documents once existed, but have since been lost or destroyed.

                F. If any of the documents requested were destroyed or are otherwise unavailable,
please identify each such document in accordance with the foregoing definitions.

               G. Responsive information should be produced to the attention of Steven Holden
at Holden Litigation, 15 East 5th Street, Suite 3900, Tulsa, OK 74103.

                 H. Each page of every Document should be marked with a unique identifier or
“Bates stamp.”

                I. Documents that are in paper form or that constitute other physical objects from
which recorded information may be visually read, as well as audio or video tapes or text messages
and similar recordings, should be produced in their original form or in copies that are exact
duplicates of the originals. Computer files and similar electronic records should be produced in a
readable form. Please let the undersigned know if there are charges or fees for searching or copying
and, if so, also advise whether you will provide an invoice for the cost after production or if
prepayment is required.

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               J. Please produce password-protected Documents with any applicable passwords.

              K. Should you consider any of the documents requested to be confidential such
that they should not be generally disseminated to the public or released to the press, please
designate these documents as such under the operative Protective Order in this case (copy
attached).

                L. Should you determine that any of the documents requested contain personal
health information that may not be disclosed pursuant to HIPAA or analogous state law, please
redact that information and assign in its place a unique identifier specific to that information. The
same unique identifier shall be used for every instance where that same information is redacted.

             M. The Documents produced in response to these Requests shall include all
amendments, enclosures, cover memos, routing slips, and other transit memos.

               N. All Documents produced in response to these Requests shall be produced in
toto, notwithstanding the fact that portions thereof may contain information not requested.

              O. For any data provided, all relevant characteristics/fields and codes should be
produced, along with data dictionaries.

                               REQUESTS FOR PRODUCTION

       1.      Prescription data from the Oklahoma Prescription Monitoring Program and the

Oklahoma Schedule Two Abuse Reduction System for the Relevant Geographic Area for

Prescription Opioids. For each prescription, identify the drug name, prescription number, NDC

number, date filled, date written, quantity dispensed, quantity prescribed, dosage form, days’

supply, MME, prescriber’s name, prescriber’s DEA number, prescriber’s NPI number,

prescriber’s address, prescriber’s specialty, dispensing pharmacist, dispensing pharmacy, patient’s

unique identification number, patient’s state of residence, patient zip code, number of refills

authorized (if any), diagnostic code, method of payment, patient paid amount, whether the

prescription was covered by third party payers, pharmacy’s name and store number, pharmacy’s

address, pharmacy’s DEA number, and any other fields identified following a meet and confer

with counsel for Walgreens.




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       2.      Reports generated from the Oklahoma Prescription Monitoring Program, the

Oklahoma Schedule Two Abuse Reduction System, or ARCOS that You generated or otherwise

received related to Prescription Opioids and the Relevant Geographic Area, including but not

limited to reports regarding patients, prescribers, pharmacies, or pharmacists meeting certain

characteristics relating to Prescription Opioids.

       3.      All Documents relating to the use of or requests for information from the Oklahoma

Prescription Monitoring Program or the Oklahoma Schedule Two Abuse Reduction System by

Plaintiff and/or any entities or persons affiliated with Plaintiff, including requests for information.

       4.      All Documents reflecting or relating to all data analyses, statistical analyses and

machine learning tools used by the Oklahoma Prescription Monitoring Program or the Oklahoma

Schedule Two Abuse Reduction System to analyze prescription data or wholesale distribution data

related to Prescription Opioids in the Relevant Geographic Area.

       5.      Documents sufficient to show the percentage of Prescription Opioids prescribed by

Healthcare Providers employed by Cherokee Nation or Indian Health Service or working at any

hospitals, clinics, or other facilities owned, operated, or supported by, or affiliated with, Cherokee

Nation Service as compared to prescriptions for Prescription Opioids written by any Healthcare

Provider.

       6.      All Documents reflecting or referring to complaints, investigations, inquiries,

problems, complaints, or disciplinary actions related to, or reflecting harm resulting from, the

refusal or failure of a Healthcare Provider, pharmacist, or other pharmacy employee to prescribe

or dispense Prescription Opioids in the Relevant Geographic Area.

       7.      All Documents relating to the legitimate need for and/or use of Prescription

Opioids, including studies, reports, investigations, or analyses regarding the benefits and/or



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medical uses of Prescription Opioid medications that were prepared by, received by, or participated

in by You.

       8.      All Documents constituting or reflecting guidance, publications, notices, or other

Communications from or to You, including but not limited to Communications between You and

Plaintiff, regarding Prescription Opioids or Illicit Opioids.

       9.      Educational efforts or community outreach efforts by You, including publications

or studies that You sponsored, disseminated, produced, supported, participated, or engaged in

pertaining to Prescription Opioids or Illicit Opioids, including the legal or illegal use, misuse, or

abuse of, or addiction to, such drugs.

       10.     Your files and records relating to actual or potential diversion or misuse of

Prescription Opioids in the Relevant Geographic Area, including but not limited to the following:

(a) correspondence related to potential or actual diversion, improper prescribing or dispensing,

refusal to prescribe or dispense, or misuse of Prescription Opioids; (b) correspondence from or to

the DEA or any other federal agency, any Oklahoma state officer or agency, any tribal officer or

agency, or any official of any Oklahoma county or municipality relating to the potential or actual

diversion, improper prescribing or dispensing, refusal to prescribe or dispense, or misuse of

Prescription Opioids; and (c) complaints made to You relating to Healthcare Providers,

pharmacists, other pharmacy employees, or other entities regulated by You relating to potential or

actual diversion, improper prescribing or dispensing, refusal to prescribe or dispense, or misuse of

Prescription Opioids, and correspondence and other records relating to such complaints.

       11.     All Documents reflecting or describing efforts of any kind (including any processes

involving review of the Oklahoma Prescription Monitoring Program or the Oklahoma Schedule

Two Abuse Reduction System data) by You to identify, investigate, combat, prosecute, sanction,



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or report to other Oklahoma state agencies, federal agencies, tribal agencies, or to federal, state,

tribal, or local law enforcement any of the following regarding Prescription Opioids in the Relevant

Geographic Area: (i) potential or actual diversion, improper prescribing or dispensing, refusal to

prescribe or dispense, or misuse of Prescription Opioids; (ii) potential or actual doctor-shopping,

counterfeiting, diversion, or misuse of prescriptions by patients; or (iii) prescription and illicit

drug-related mortality and morbidity, including but not limited to all documents referring or

relating to resources (personnel, budget, etc.) You have dedicated to these efforts..

           12.   All Documents reflecting or relating to any investigation or enforcement action

(including but not limited to fines, suspensions, revocations, and letters or other formal warnings

or notices) taken by You involving any person or entity that related to the manufacturing,

distribution, dispensing, failure to dispense, prescribing, failure to prescribe, diversion, or misuse

of Prescription Opioids in the Relevant Geographic Area, including but not limited to all

documents referring or relating to resources (personnel, budget, etc.) You have dedicated to these

efforts.

           13.   All documents and Communications identifying, discussing, or relating to any

individuals or entities You suspect or know have unlawfully produced, transported, diverted, sold,

and/or trafficked Prescription or Illicit Opioids within the Relevant Geographic Area.

           14.   All Documents reflecting or relating to any Defendant, including but not limited to

any Defendant’s cooperation, assistance, and/or participation in any inspection, audit,

investigation, or enforcement action (including but not limited to enforcement actions related to

fines, suspensions, revocations, and letters or other formal warnings or notices) taken by You

against any person or entity relating to the manufacturing, distribution, dispensing, failure to




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dispense, prescribing, failure to prescribe, diversion, or misuse of Prescription Opioids or Illicit

Opioids in the Relevant Geographic Area.

        15.    All Documents reflecting or relating to any inspection, audit, or investigation

conducted by You of any Defendant in the Relevant Geographic Area, including inspections and

audits that did not lead to any further investigation or enforcement action.

        16.    All Documents reflecting or relating to Your policies and procedures and training

with respect to inspections, audits and/or investigations of registrants, and summary information

of inspections, audits and/or investigations of registrants by year.

        17.    All Documents reflecting or relating to Your registering and discipline of

registrants on a summary basis by year.

        18.    All Documents relating to Your identification or investigation of the factors that

caused or contributed to Prescription Opioid or Illicit Opioid abuse in the Relevant Geographic

Area.

        19.    All Documents related to the information either submitted to You or created by You

pursuant to 63 Okla. Stat. § 2-309C that pertains to Prescription Opioids in the Relevant

Geographic Area, including but not limited to Your efforts to identify manufacturers, distributors,

Healthcare Providers, pharmacists, pharmacy employees, or any other Person who might be

involved in diversion or misuse of Prescription Opioids as well as Your approach in investigating,

sharing, or in any way responding to reports and Your development of any criteria for the

production of reports.

        20.    All Documents related to Your receipt, organization, analysis, utilization, and

handling of the information required pursuant to 21 U.S.C., Section 827(d)(1) that drug

manufacturers and distributors submit to You under 63 Okla. Stat. § 2-302(D) related to



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Prescription Opioids in the Relevant Geographic Area, including but not limited to Your efforts to

identify manufacturers, distributors, Healthcare Providers, pharmacists, pharmacy employees, or

any other Person who might be involved in diversion or misuse of Prescription Opioids as well as

any Communications between You and the DEA, or any other state or federal agency, or between

You and any county or municipal official, regarding Prescription Opioids and the information

required pursuant to 21 U.S.C. Section 827(d)(1) that is submitted to You under 63 Okla. Stat. §

2-302(D).

       21.     All Documents related to the Oklahoma Drug Endangered Children program

related to the Relevant Geographic Area.

       22.     All Documents related to the Safe Trips for Scripts program related to the Relevant

Geographic Area.

       23.     All Documents related to Oklahoma Drug Threat Assessment reports related to the

Relevant Geographic Area.

       24.     All Documents related to the Overdose Detection Mapping Application Program

(ODMAP) that relate to Prescription Opioids or Illicit Opioids in the Relevant Geographic Area.

       25.     All Documents related to any report to the Oklahoma legislature under 63 Okla.

Stat. § 2-112 regarding progress on the Opioid Act of 2019.

       26.     Your annual reports from 1996 to the present.

       27.     All documents relating to the nature and volume of crimes, overdoses, and deaths

resulting from use, possession, sale, distribution, diversion of, or addiction to Illegal Opioids or

Prescription Opioids in the Relevant Geographic Area, including but not limited to the nature and

volume of such crimes, overdoses, and deaths among members of the Cherokee Nation.




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       28.     All documents referring or relating to the source(s) of Your funding for, and

amounts spent on, initiatives related to Prescription Opioids.

       29.     All documents referring or relating to any actual or potential grants, loans, other

financial assistance relating to Prescription Opioids for which You applied or considered applying.

       30.     All documents relating to any fees or costs You charge Plaintiff for the services

You perform or relating to any cost, expenditure, damage, loss, or harm Plaintiff has incurred for

opioid-related services.

       31.     All documents relating to any funding you receive from or provide to Plaintiff.

       32.     All compacts or contracts between You and Plaintiff.

       33.     All Documents concerning the meaning of the term “suspicious orders” in

connection with orders for controlled substances.

       34.     All Documents discussing, referring, or relating to your efforts to facilitate

intelligence or information sharing and promote coordinated strategies to combat the use, misuse,

abuse, sale, diversion, production, transportation, distribution, purchase, and/or trafficking of

Prescription Opioids or Illicit Opioids within or into the Relevant Geographic Area.

       35.     All documents produced by You in the Manufacturer Lawsuit to any party.




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